Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 1 of 67
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 2 of 67

EXHIBIT 1
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 3 of 67

Pyle, Michael T. (USACAN)

From: Pyle, Michael T. (USACAN}

Sent: Thursday, June 27, 2019 10:23 AM

To: legal.poc@verizonmedia.com

Subject: Request for International Judicial Assistance -- Response Requested by July 16, 2019
Attachments: 2019.06.27 - Ltr re Jankovska.pdf; Jankovska v PKB Privatbank SA.pdf

Dear Oath Holdings, Inc. Custodian of Records,

Please see the attached letter and enclosure regarding an International Judicial Assistance Request regarding a request
from a Swiss court.

Thank you,
Michael Pyle

AUSA, Northern District of California
Direct Line: 408-535-5087
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 4 of 67

United States Attorney
Northern District of California

 

 

150 Almaden Boulevard, Suite 900 (408) 535-5087
San Jose, California 95113 FAX: (408) 535-5081
June 27, 2019

Oath Holdings, Inc.
Custodian of Records
701 1 Avenue
Sunnyvale, CA 94089

VIA E-MAIL: legal.poc@verizonmedia.com

Re: Request for International Judicial Assistance from the District Court of
Lugano, Switzerland in Marta Jankovska v. PRB Privatbank SA,
Ref No. OR.2016.233
DJ Reference Number: 189-30-19-5

Dear Custodian of Records:

Lum an Assistant United States Attorney in the United States Attorney’s Office, Northern
District of California, Civil Division, San Jose Office,

A Swiss court has requested assistance from the United States Department of Justice to
obtain information from Oath Holdings, Inc. for use in litigation pending before the District
Court of Lugano, Switzerland. A request such as this from a foreign court falls under the
Convention on Taking Evidence Abroad in Civil or Commercial Matters, a multi-national treaty.
The United States of America has agreed to act upon letters of request from foreign governments
and to ensure compliance with foreign court orders.

As you will see from the enclosed Swiss court documents, the Swiss court has requested
that the United States of America assist in obtaining information about two e-mail accounts: (1)
katerina,jankovska(@yahoo.com and (2) katerina.jankoyskas@yahoo.com. (Note that the only
difference in the e-mail names is an “s” at the end of the second one.) The underlying case in
Switzerland relates to allegations that a deposit of 1,000,000 British Pounds into a bank account
was transferred out of the account by someone who hacked the above yahoo e-mail accounts in
order to obtain the funds. The plaintiff filed an action in Swiss court requesting the bank to
reimburse the amounts transferred without her consent.

 
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Oath Holdings, Inc.
June 27, 2019

After you review the specific request for information set for the in the enclosed request
(which is found in the first 3 pages of the enclosure), please let me know under what
circumstances, if any, Oath Holdings can provide my office with the requested information.

If you would like, I would be happy to take the steps necessary to serve Oath Holdings
with a court-authorized subpoena pursuant to 28 U.S.C. § 1782. I would like to work out a
mutually acceptable resolution of this issue, and would welcome any suggestion as to how to
interpret the Swiss court’s request so that it comports with the Electronic Communications
Privacy Act, the Stored Communications Act, or any other applicable statute or case.

If Oath Holdings is willing to provide voluntarily the requested information at this time,
please let me know. I would be happy to afford Oath Holdings as much time as it reasonably
needs to provide voluntarily the requested information. If Oath Holdings prefers for me to serve
a court-authorized subpoena, please let me know whether 1 may serve you with the court papers
and subpoena via e-mail to legal.poc.verizonmedia.com.

Finally, if Oath Holdings is unwilling to provide the requested information under any
circumstances, please send me a letter stating the reasons why Oath Holdings cannot provide the
requested information, with appropriate legal citations. 1 would then carefully consider Oath
Holdings’ position before taking any further action on this matter.

Please contact me by July 16, 2019 to let me know if Oath Holdings will comply
voluntarily with the Request. You can reach me at 1-408-535-5087 or via e-mail at
michael.t.pyle@usdoj.gov. If 1 do not hear from you by July 16, 2019, I will presume that Oath
Holdings has chosen to be served with a subpoena.

Very truly yours,

DAVID L. ANDERSON
United States Attorney

W bol TEL.

MIGHAEL T. PYLE
Assistant United States Attorney

 

Enclosure
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fax

Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 6 of 67

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Repubblica e Cantone

 

 

 

nD f teyano del Ticino

004 816 53 31

O64 845 69 38
Pretura di Lugano ~ Sezione 1
6901 Lugano

Fixing of time limit Oath Holdings Inc.

U.S. Custodian of Records
701 First Avenue
Sunnyvale, CA 94089

Fite n, Lugano
OR.2016,233 March 28", 2019
4108/2016

The Judge of the District of Lugano

PD Or. iur. Avv. Francesco Trezzini, LL.M.

in ordinary cause procedure submitted on December 7", 2016 by

Seen

considered

for which reasons

establishes

Marta Jankovska, Barcellona -
Represented by Attorney Hans-Ulrich Kupseh, ZUrlch
Represented by Altorney Gilles Benedick, Lugano

against

PKB Privatbank SA, Lugano

Represented by Attorney Andrea Moline, Lugano

the e-mail dated February 13", 2019 from Oath (EMEA) Limited, Dublin,

that it is necessary to set for the third party Oath Holding Inc. a time
limit to provide the Information reffered to the operative part of this
decision,

the third party Oath Holding Inc. the 30 days to provide the following
information:

Information about the following e-mail accounts:

kaierina jankovska@yahoo.com
katerina,jankovskas@yahao.com

1, When the accdunt has been created (date and time).
What browser and IP address has benn used to create the account.

 

 

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Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 7 of 67

Prelusa dl Lugano Fle n, Lugano
OR.2046.233 March 28", 2019

 

2, What user data was entered when setting up an account (user
name, address, phone, ...)

3. Full log of account activities (date and time, activiy type, client
browser and IP adress) in particular, log of alt deletion of e-mails. —

4, Fulllog of account password changes (date and time, client browser
and IP adress). ,

In addition, please fet us know jf it is possible thaht the above
mentioned accounts were affected by a data breach.

  
 

Tha Judge f

 

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Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 8 of 67

Kubler Lara BJ

 

Von _EDA-Vertretung Dublin <dublin@edaadmin.ch>
Gesendet: Mittwoch, 13. Februar 2079 72:06

An: Sweeney Deirdre EDA SWD

Betreff: FW: Oath EMEA LERT 404099

Printed

444.4

From: rlzzo@verlzonmedia.com <rizzo@verizonmedia.com> On Behalf Of jE-LegalPOC SMB
Sent: Wednesday, February 13, 2049 11:03 AM

To:_EDA-Vertretung Dublin <dubjin@eda.admin.ch>

Subject: Oath EMEA LERT 404099

Dear Ms. Sweeney,
We refer to your request ref, 444. 1-swd (ORR.2016,233), dated January 31, 2019.

Please note that the Yahoo ID katerinajankovska is not administered by Oath (EMEA) Limited (‘Oath
EMEA’). Rather, it is administered by Qath Holdings Inc. For further information, please contact Oath

Holdings inc. at legalpos@verizonmedia.com
Furthermore, please note that user account katerina.jankovskas specified in your request is not a valid

Yahoo ID at this time.

Please do not hesitate to contact us should you need any additional information.

Yours faithfully,

Oath (EMEA} LERT
ie-leqalpoc@verizonmedia.com

§-7 Point Square, North Wa!l Quay, Dublin 1

Oath:

CONFIDENTIALITY NOTICE: This e-mail and its attachments are confidential and may be legally
privileged.
Tt is intended for the named recipient only,
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 9 of 67

LETTER OF REQUEST

| (items to be included in all Letters of Request)

4

Sender (identity and address)
District Court of Lugano, Section 1, Via Bossi 3, 6907 Lugano (Switzerland)

Central Authority of the Requested State (identity and address}
U.S. Department of Justice

Civil Division

Office of International Judicial Assistance

Benjamin Franklin Station

P.O. Box 14360

Washington, D.C. 20004

United States of Amarica

Person to whom the executed request is fo be returned (identity and address)
District Court of Lugano, Sectian 1, Via Bossi 3, 6907 Lugano {Switzerland)

{items to be inciuded in all Letters of Request)
4 |n conformity with article 3 of the Convention, the undersigned applicant has the honour

to submit the following request:
a Requesting Judicial authority (article 3, a) (identity and address)
District Court of Lugano, Section 1, Via Bossi 3, 6907 Lugano (Switzerland)

b Tothe competent authority of (article 4, a} (the requested State)
U.S. Department of Justice

Civil Division

Office of international Judicial Assistance

Benjamin Franklin Station

P.O. Box 14360

Washington, D.C. 20004

United States of America

6 Names and addresses of the parties and their representatives (article 3, b)

a Plaintiff Marta Jankovska, 35 Mandri street, 3rd floor, flat 2, 08022

Barcellona (Spain)

Represented by Altorney Hans-Ulrich Kupsch, Talstrasse 17,
8001 Zurich

Represented by Altorney Gilles Benediok, Via Ariosto 6, 6907

Lugano
APR 17 2019
OTN] 99-20-1975
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 10 of 67

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b Defendant PKB Privatbank SA, Via S. Baiestra 1, 6900 Lugano
- (Switzerland)
Represented by Attorney Andrea Molino, Via G.B. Pioda 14,
6907 Lugano

Nature atid purpose of the proceedings and summary of the facts (article 3, ¢)

compare written summary attached

Evidence to be obtained or other judiclal acts to be performed
request for information addressed to Oath Holdings Inc., U.S. Custodian of
Records, 707 First Avenue, Sunnyvale, CA 94089

(items to be completed where applicable)
Identity and address of any person to be examined (article 3, e)

Questions to be put to the persons to be examined or statement of the subject-matter
about which they are to be examined (article 3, f) (or see attached list)

Documents or other property to be inspected (article 3, g) (specify whether il isto be
produced, capled, valued, etc.)

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Any requirement that the evidence be given on oath or affirmation and any special form
io be used (article 3, h) (in the event that the evidence cannot be taken in the manner
requested, specify whether it is to be taken in such manner as provided by local law for
the formal taking of evidence)

Special methods or procedure to be followed (articles 3, | and 9)

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Request for information of the time and place for the execution of the Request and
identity and address of any person to be notified (article 7)

Request for attendance of judicial personnel of the requesting authority at ihe execution
of the Letter of Request (article 8)

Ma EP AU NAG UA g MED UA ARPA PON TEEDS HARES Dae baee basen aceon brea arte tore gid bee era i Ris eH ReNsarUanansvascer ese bearnsacazevarenyararast

pagans pee eda kn ee eee RR CREB Era atenage canna amar Er area hd eaba aaa ened oe

Specification of privilege or duty to refuse to give evidence under the law of the State of
origin (article 17, 6)
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 11 of 67

47 The fees and casts incurred which are reimbursable under the second paragraph of
article 14 or under article 26 of the Convention will be borne by (identity and address)

District Court of Lugano, Section 1, Via Bossi 3, 6907 Lugano (Switzerland)

IV. (Items to be included in alf Letters of Request)
18 Daie of request
Lugano, March 28", 2019

49 Signature and seal of the requesting authority

Pretura del Distretto
di Lugano SEZIONE 4

Ree PRR ee ee

   

 
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 12 of 67

   

 

 

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Pratura del DISTRET TO di Lugano

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enotariie reenco ~§ APR, 2019
ESIBITO No. —-
Sax inc, Mo,
Bf.

For the attention of

Oath Holdings fnc.

U.S. Custodian of Records
701 First Avenue
USA-Sunoyvale, CA 94089

Dr, Gills Benediek, LLB
Avvocats @ Notaig*

Lugano, 5 April 2019
80027344 Ga/Ga

File no. OR.2016.233 District Court of Lugano
Marta Jankovska v. PKB Privatbank SA.

Summary of the facts of the case by the claimant (Marta lankovska)

in the course of February 2013, Ms. Marta Jankovska set up a bank account at PKB
PRIVATBANK SA, Lugano ("PKB"), Mr. Nicold Dosi Delfini, client advisor at PKB assisted the
opening of the account. When opening the bank account, Marta Jankovska granted her
mother, Katerina Jankovska, a general power of attorney.

Shortly after the cpening of the bank relationship, the amount of GBP 1'000'000,- was
transferred into the account of Marta Jankovska,

On February 19, 2014, PKB received an e-mail from the e-mail address kateri-
najankovska@yahoo.com, requesting that the bank send "the available balance an all my
account", The e-mail was sent to the e-mall address Nicolo.DosiDelfini@pkb.ch. Mr. Dost
Delfin! provided information regarding Marta Jankovska's account, including the account
holder's name (Marta Jankevska}, the account number, and the account balance.

While the e-mail account katerinajankovska@yahoo.com. belongs ta Ms. Katerina
Jankovska, she has sworn that he has not written the e-mail on February 19, 2014 as well
as all the other e-malls sent to the bank and mentioned hereinafter. Ms. Katerina

Via Ariasto O + 1.0. Box 4241

CH-6901 Lugune

Ped Wyol G13 49 11

F th (001 913 30 t4

giles .bonadick@honerliak-liw.eh *Jscritty all Ordiny doylt Arvneats
wives Lanudick-law.oh itek Guitare Ficie

 
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 13 of 67

Bentepick STUDIO LEGALE E NOTARILE 2/3

Jankovska has stated that her e-mail account katerina jankovska@yahoo.com was hacked
and/or that an unknown Individual gairied access to the account, The claim ts that an indi-
vidual using Ms, Katerina Jankevska's e-mail account impersonated Ms. Katerina
Jankovska and Wrote the e-mails to the bank on February 19, 2014 and those set forth
hereinafter.

After receiving the account detalls fram the Bank, the Individual using the e-mail address
katerina jankovska@yahoo.com, requested February 19, 2014 that GBP 150,000 be trans-
ferred fram Marta Jankovska's account to a company "Micpine Construction Ltd.", which
account was at Barclay's bank in Bedfordshire, UK,

PKB asked'to recelve a written Instruction with the signature of the person giving the in-
struction. On 19 February 2014, the unknown individual using the e-mail address kateri-
najankovska@yahoo.cam sent to the bank an e-mail with a document attached contain-
ing the payment instruction. Ms. Katerina Jankovska has sworn that the signature on the
document sent by e-mall, is not her signature, i.e. the signature was forged.

On february 25, 2014, the individual using the e-mail address  kateri-
na.fankovska@yahoo,com requested that the amount of GBP 400,000 was to be wired ta
the company "Chait Import & Export Co., Ltd." in Hong Kong. Again, the e-mail was sent to
the address Nicolo, DosiDelfini@pkb.ch.

On March 5, 2014, a further transfer request was made to PKB by e-mail
(katerina.Jankovska@yahoo.com), this time requesting that GBP 350,000 be transferred to
the same Chalt Import & Export Co. in Hong Kong.

On March 11, 2014, PKB received a fourth email requesting the balance “on aif my ac-
count". This time, the email address, fram which the request came, was different, albeit
similar: katerina.jankovskas@yahoo,com (containing an “s" at the end of the surname).
Ms. Katerina Jankavska has in fact sworn that, on March 6, 2014, she had changed her
password to her e-mail account "katerina jankovska@yahoo.com", since on the very same
day, e-mails in her account were coming and deleting simultaneously and she was made
aware by several people that she may have been victim of a backer attack. In fact, on De-
cember 15, 2016, Ms. Katerina Jankovska recelved from Yahoo a "Notice of Data Breach",
pursuant to which "an authorized party, in August 2013, stole dato associoted with a
broader set of user accounts", including the account of Ms. Katerina Jankovska,

After the password change ta the e-mail account katerina.jankovska@yahoo.cam on
March 6, 2014, the hacker no longer had access to such account,
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 14 of 67

BENEOICK STUDIO LEGALE € NOTARICE

On 12 March 2014, the fndividual using the e-mail address  kateri-
na,jankovskas@yahoo.com, requested that a further GBP 85,000 be transferred to the
cornpany Chalt Import & Export Company in Hong Kong.

On May 5, 2014, a final transfer request in the amount of GBP 11,450 was submitted to
PKB, Apain the request came from katerina jankovskas@yahoo,com and this time, the
funds were to be sent to an individual ("Rowena Rawlings") in Houston, Texas,

Ms. Katerina Jankovska has sworn that she has not given the aforementioned payment

Instructions,

On December 7, 2016, Marta Jankovska tnitiated a civil claim against PKB requesting that
the bank relmburse the amounts transferred without her consent, plus legal interests and

costs,

Declaration of conformity

_ |, Dr. Gilles Benedick, Esq., Lugano, Canton of Ticino, Swiss Confederation, hereby certify
that the present translation from itallan into English (both languages well known to me} of
the "Summary of the facts of the casa by the claimant (Marta Jankovska)" Is true and au-
thentic. The present translation was duly executed by me personally and attached to the
italian text.

ZL t

Dr. Gilles Benadick, Esq.

 
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 15 of 67

MAG Legis SA FOGLIG

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SUMMARY OF THE FACTUAL BACKGROUND OF THE CASE

1, Mr and Mrs Jankovski, both directly and though companies which they owned, have
been clients of PKB Privatbank SA since the early 2000s,
The communication between the Bank and Mr and Mrs Jankavski usually took
place through staff members of Mr Kosta Jankovski's companies.
The bank employee in charge of the account had personally met the staff during a
visit to the companies in Skopje.

2. in 2013 Mr Kosta Jankovski requested the Bank to open an account in the name of
his daughter Marta Jankovska, where the amount of GBP 1 million, being a gift from
father to daughter, had to be deposited in view of real estate investments
(according to Information provided by Mr Kosta Jankovski to PKB).

3. The account opening documentation was signed on 25 February 2013,
Marta Jankovska also signed the Indemnity form for email orders.
On 26 February 2013 Marta Jankovska granted a proxy in favour of her mother
Katerina Jankovska.

4. ©n15 and 22 March 2013 the global amount of GBP 4 milllon was credited to the
account.

5, On 19 February 2014 the Bank received - from the email address”
katerina. jankovska@yahoo.com, which had been known to the Bank for years ~ an
instruction to transfer the amount of GBP 150,000.- from the account of Marta
Jankovska in favour of the company Mcpine Construction Ltd, London.

In order to execute the payment the Bank requested an instruction signed by
Katerina Jankovska, in her capacity as proxy-halder.

On the same day the Bank received — as attachment from the email address
katerina jankovska@yahoo.com — a signed payment instruction for the transfer of
ihe amount mentioned here above. The bank employee requested and obtained a
confirmation over the phone and the payment was executed on 21 February 2014
and a confirmation was sent to the email address katerina,jankovska@yahoo.com.

6. On 25 February 2014 the Bank received — from the email address
katerina jankovska@yahoo.com — an instruction to transfer the amount of GBP
400,000.- In favour of Chait Import & Export Go. Lid. As in the previous case, the
Bank requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 3 March 2014, sending a

confirmation to the email address katerina iankovska@yahoo,com.

7. On 5 March 2014 the Bank received — from the email address
katerina jankovska@yahoo.com — an instruction to transfer the amount of GBP
350,000.- ih favour of Chait import & Export Co. Ltd; as in the previous cases, the
Bank requested and obtained a signed payment Instruction and a subsequent
confirmation over the phone and executed the payment on 7 March 2014, sending a

confirmation fo the emall addresses katerinajankovska@vyahoo.com and
lankovskamarta@amail.com.

 
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 16 of 67

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8. On 12 March 2014 the’ Bank received — from the e-mail address
katerina Jankovskas@yahoo.com — an instruction to transfer the amount of GBP
85,000.- in favour of Chait Import & Export Co. Ltd; as in the previous cases, the
Bank requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 14 March 2014, sending
a confirmation to the email addresses katerina.jankovskas@yahoo.com and
lankovskamarta@amail.com,

 

9, On 6 May 2014 the Bank received -— from the e-mail address
katerina.lankovskas@yahoo.com — ah instruction to transfer the amount of GBP
11,450.- in favour of Rowena Rawlings; as in the previous cases, the Bank
requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 8 May 2014, sending a

confirmation to the email address katerina jankovskas@yahoo.com.

10. On 14 October 2014 the bank employee in charge of the account recelved a phone
call from a staff member of one of the companies of the Jankovski family regarding
a forex transaction to be carried out on the account in question. The bank employee
enquired about the reasons for such request in consideration of the small amount
left on the account.

44. Subsequently Marta Jankovska disputed that the payment instructions received
from the emall addresses katerina Jankovska@vahoo.com and
katerina.jankovskas@yahoo.com had been given by her mother Katerina
Jankovska, alleging that her emall account had been hacked and the payment
Instructions had therefore been sent by unknown and unauthorized persons.

Certification of authenticity: |, the undersigned, certify that the above text has been
drawn up by me and is the English translation of the original one in Italian and that it
corresponds to the original version both in the form and content.

Avy. Maurizio Agustoni
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 17 of 67
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EXHIBIT 2
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 19 of 67

LETTER OF REQUEST

| (ifems to be included in ail Letters of Request)

4

2

Sender (identity and address} ~ ;
District Court of Lugano, Section 7, Via Rossi 3, 6907 Lugano (Switzerland)

Central Authority of the Requested State (identity and address)
U.S. Department of Justice

Civil Division

Office of international Judicial Assistance

Benjamin Franklin Station —

P.O. Box 14360

Washington, D.C. 20004

United States of America

Person to whom the executed request is fo be returned (identity and address)
District Court of Lugano, Section 1, Via Bossi 3, 6907 Lugano (Switzerland)

(items to be included in all Letters of Request)

4

6

in conformity with article 3 of the Convention, the undersigned applicant has the honour
to submit the following request:

a Requesting judicial authority (article 3, a) (identity and address)
District Court of Lugano, Section 1, Via Bossi 3, 6901 Lugano (Switzerland) .

b To the competent authority of (article 4, a) (the requested State)
U.S. Department of Justice

Civil Division

Office of International Judicial Assistance

Benjamin Franklin Station

P.O. Box 14360

Washington, D.C. 20004

United States of America

Names and addresses of the parties and their representatives (article 3, b)
a Plaintiff Marta Jankovska, 35 Mandri street, 3rd floor, flat 2, 08022

Bareellona (Spain)

Represented by Attorney Hans-Ulrich Kupsch, Talstrasse 11,
8001 Zurich

Represented by Attorney Gilles Benedick, Via Ariosto 6, 6907

Lugano
APH 17 2019
OFU-1 94-20-19-5
 

Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 20 of 67

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b Defendant PKB Privatbank SA, Via-S. Balestra 7, 6900 Lugano
(Switzerland)
Represented by Attorney Andrea Molino, Via G.B. Pioda 14,
6907 Lugano

Nature and purpose of the proceedings and summary of the facts (article 3, c)

compare written summary attached

Evidence to be obtained or other judicial acts to be performed
request for information addressed to Oath Holdings Inc., U.S. Custodian of
Records, 701 First Avenue, Sunnyvale, CA 94089

(ttems to be completed where applicable)
Identity and address of any person to be examined (article 3, ¢)

Questions to be put to the persons to be examined or statement of the subject-matter
about which they are to be examined (article 3, f) (or see affached list)

Documents or other property to be inspected (article 3, g) (specify whether it is to be
produced, copied, valued, etc.)

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PEP e treme ee nae be db BROS BRAG R MASE EE PREP ETE OPRAH REDE SAAR RRP STS ERSTE ARETE RRO Gear ee RAS ae Ta RESET ESS

Any requirement that the evidence be given on oath or affirmation and any special form
to be used (article 3, h) (in the event that the evidence cannot be taken in the manner
requested, specify whether it is fo be taken in such manner as provided by focal law for
the formal taking of evidence)

Special methods or procedure to be followed (articles 3, | and 9)

Request for information of the time and place for the execution of the Request and
identity and address of any person to be notified (article 7)

Request for attendance of judicial personnel! of the requesting authority at the execution
of the Letter of Request {article 8)

Specification of privilege or duty to refuse to give evidence under the law of the State of
origin (article 11, 6)
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 21 of 67

17 The fees and costs incurred which are reimbursable under the second paragraph of
article 14 or under article 26 of the Convention will be borne by {identity and address)

District Court of Lugano, Section 1, Via Bossi 3, 6901 Lugano (Switzerland)

IV {Items to be included in ail Letters of Request)
18 Date of request
Lugano, March 28", 2019

19 Signature and seal of the requesting authority

Pretura del Distretto
dj Lugano SEZIONE 1

  

 
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Pretura del DISTRET TO di Lugano
Atta

rieavalo o§ APR. 2018

ESIBIFC) No.
. Inc, No.

 

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e notarile

 

 

For the attention of

Oath Holdings Inc.

U.S. Custodian of Records
701 First Avenue
USA-Sunnyvale, CA 94089

Dr. Gilles Benedick, LL.M.
Avvocato ¢ Notaio*

Lugano, 5 Apri] 2019
80027344 GB/GB

File no. OR.2016,233 District Court of Lugano
Marta Jankevska v. PKB Privatbank SA.

Summary of the facts of the case hy the claimant (Marta Jankovska}

In the course of February 2013, Ms. Marta Jankovska set up a bank account at PKB
PREVATBANK 5A, Lugano ("PKB"). Mr. Nicolé Dosi Delfini, cltent advisor at PKB assisted the
apening of the account. When opening the bank account, Marta Jankovska granted her

mother, Katerina Jankovska, a general power of attorney.

Shortly after the opening of the bank relationship, the amount of GBP 1'000'000.- was

transferred into the account of Marta Jankovska.

On February 19, 2014, PKB received an e-mail from the e-mail address kateri-
na.jankovska@yahoo.com, requesting that the bank send "the available balance on all my
aecount". The e-mail was sent to the e-mail address Nicolo.DosiDelfini@pkb.ch. Mr. Dosi
Delfini provided information regarding Marta Jankovska's account, including the account
holder's name {Marta Jankovska), the account number, and the account balance.

While the e-mail account katerinajankovska@yahoo.com belongs to Ms. Katerina
Jankovska, she has sworn that he fas not written the e-mail on February 19, 2024 as well
as all the other e-mails sent to the bank and mentioned hereinafter. Ms, Katerina

Via Arioste 6 - P.O. Bex 5251
CH-6901 Luguno

Padi (QO G13 39 11

F 441 (0}91 913 30 14

filles. benedick@benedick-law.ch
www. benedick-law.ch

 

*Isceltin WV Ordine degli Avvacati
del Cantane Ticino
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Jankovska has stated that her e-mail account katerina.jankovska@yahoo.com was hacked
and/or that an unknown individual gained access to the account. The claim Is that an indi-
vidual using Ms. Katerina Jankovska’s e-mail account impersonated Ms. Katerina
Jankovska and wrote the e-mails to the bank on February 19, 2014 and those set forth

hereinafter.

After receiving the account details from the Bank, the individual using the e-mail address
katerina.jankovska@yahoo.com, requested February 19, 2014 that GBP 150,000 be trans-
ferred from Marta Jankovska's account to a company “Mcpine Construction Ltd.”, which

account was at Barclay's bank in Bedfordshire, UK.

PKB asked to receive a written instruction with the signature of the person giving the in-
struction. Gn 19 February 2014, the unknown individual using the e-mail address kateri-
na.jankovska@yahoo.com sent to the bank an e-mail with a document attached contain-
Ing the payment instruction. Ms. Katerina Jankovska has sworn that the signature on the

document sent by e-mail, is not her signature, i.e. the signature was forged.

On February 25, 2014, the individual using the e-mail address kateri-
na jankoyska@yahoo.com requested that the amount of GBP 400,000 was to be wired to
the company "Chalt Import & Export Co., Ltd," in Hong Kong. Again, the e-mail was sent to
the address Nicolo.DosiDelfini@pkb.ch.

On March 5, 2014, a further transfer request was made to PKB by e-mail
(katerina.jankovska@yahoo.com)}, this time requesting that GBP 350,000 be transferred to
the same Chalt import & Export Co. in Hong Kong.

On March 11, 2014, PKB recelved a fourth email requesting the balance “on aif my ac-
count", This time, the email address, from which the request came, was different, albeit
similar: katerina.jankovskas@ yahoo.com (containing an "s" at the end of the surname),
Ms. Katerina Jankovska has in fact swern that, on March 6, 2014, she had changed her
password to her e-mail account "katerina.jankovska@yahoo.com", since on the very same
day, e-mails In her account were coming and deleting simultaneously and she was made
aware by several people that she may have been victim of a hacker attack. In fact, on De-
cember 15, 2016, Ms. Katerina fankovska received from Yahoo a "Notice of Data Breach",
pursuant to which “an authorized party, in August 2013, stole data associated with a
broader set of user accounts", including the account of Ms. Katerina Jankovska,

After the password change to the e-mail account katerina.jankovska@yahoo,com on

March 6, 2014, the hacker no longer had access to such account.
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BEeNEpick STUDIO LEGALE E NOTARILE

On 12 March 2044, the individual using the e-mail address kateri-
najankovskas@yahoo.com, requested that a further GBP 85,000 be transferred to the
company Chalt Import & Export Company in Hong Kong.

On May 5, 2014, a final transfer request in the amount of GBP 11,450 was submitted to
PKB. Again the request came from katerinajankovskas@yahoo.com and this time, the

funds were to be sent to an individual ("Rowena Rawlings") In Houston, Texas.

Ms. Katerina Jankovska has sworn that she has not given the aforementioned payment

instructions,

On December 7, 2016, Marta Jankovska Initiated a civil clalm against PKB requesting that
the bank reimburse the amounts transferred without her consent, plus legal interests and

costs,

Declaration of conformity

L, Dr. Gilles Benedick, Esq., Lugano, Canton of Ticino, Swiss Confederation, hereby certify
that the present translation from italian Into English {both languages well known to me} of
the "Summary of the facts of the case by the claimant (Marta Jankovska)" is true and au-
thentic. The present translation was duly executed by me personally and attached to the

ttalian text.

FA

Dr. Gilles Benedick, Esq.

 
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All'attenzione di

Gath Holdings Inc.

U.S, Custodian of Records
701 First Avenue
UsA-Sunnyvale, CA 94089

Dy Gilles Bonediek, LLM.
Avvacate a Notaio*

Lugano, 5 aprile 2015
90027344 GB/GB

Incarte no. OR.2016.233 Pretura del Distretto di Lugano
Marta Jankovska v. PKB Privatbank SA.

Riassunto dei fatti di causa di parte attrice (Marta Jankovska)

Nel febbraio 2013, la Signora Marta Jankovska ha aperto un conto corrente bancario pres-
so PKB PRIVATBANK SA, Lugano ("PKB"). L'apertura del conte @ stata seguita dal signor
Nicol Dosi Delfini, in qualité di consulente alla clientela privata presso PKB. All'apertura
del conto,.Marta Jankovska aveva conferito alla madre, signora Katerina Jankovska, procu-

ra generale sul conto.
Poco dopo apertura, sul conto di Marta Jankovska sono confluiti GBP 1'000'000.-.

In data 19 febbraio 2014, i] Signor PKB riceveva una e-mail dall'indirizzo katert-
na Jankovska@yahoo.com in cui le veniva richiesto di indicare: “the available balance on
all my account". L'e-mail @ stata inviata all'indirizzo e-mail! Nicolo.DosiDelfini@pkb.ch. Il
Signor Dosi Delfini forniva diverse informaziont sul conto di Marta Jankovska tra cui il no-

me della titolare del conto (Marta Jankovska}, il numero di conto nonché il saldo,

Se, da un lato, la Signora Katerina Jankovska & titolare def conte e-mail kateri-
na.jankovska@yahoo.com, dail'aitro lato, essa ha testirmoniato di non avere scritte fe-mail

del 19 febbralo 2014 cosi come non aver scritto alcuna delle e-mail inviate alla banca e

Via Ariosto 6 - P.O. Box 6251
CH-6901 Lugano
P +44 (0}91 913 39 Ti
F441 (OVO! 913 39 14
gilles.henadick@henedick-tawch FI seritte all (irdine degli Avvocatl
www. benediek-law.ch. dot Caniane ‘Ficine
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menzionate qui di seguito. La Signora Katerina Jankovska ha dichiarato che il suo conto e-
mail katerina jankovska@yahoo.com é stato hackerato e/o che una persona sconosciuta vi
ha avuto accessu. Essa afferma che un individuo ha uttlizzato i] conto e-mail della Signora
Katerina Jankovska, ha impersonate la Signora Katerina Jankovska e ha scritto alla banca

Fe-mail del 19 febbraio 2014 e quelle indicate qui di seguito.

Una volta ricevute dalla banca le informazioni sul conto, in data 19 febbraio 2014, la per-
sona sconoscluta che operava dietro lindirizzo Katerina jankovska@yahoo.com ordinava
che dal conto di Marta Jankovska venisse effettuato un bonifico d/ GBP 150'000.- in favore
di una societa denominata "Mecpine Construction Ltd" con sede a Luton, Inghilterra, su un

conto presso 1a Banca Barclay nel Bedforshire, Inghilterra.

PKB chiedeva di ricevere un‘istruzione scritta con fa firma dell'ordinante. In data 19 feb-
bralo 2014, [individuo sconoscluto che utllizzava  l'indirizzo e-mail kateri-
na jankovska@yahoo.com inviava un'e-mail alla banca, sempre utilizzando Uindirizzo kate-
rina.jankovska@yahoo.com, con in allegato un documento contenente I'istruzione di pa-
gamento. La Signora Katerina Jankovska ha testimoniato che la firma sul documento invia-

to tramite e-mail non @ la sua, ovvero che la firma sul documento é un falso.

In data 25 febbraio 2014, la persona sconosciuta che operava dietro |'indirizzo kateri-
na.jankovska@ yahoo.com, chiedeva di trasferire 'importo GBP 400'000.- a favore della
socijeta “Chait Import & Export Co. Ltd" di Hong Kong. Di nuovo, I'e-mail era indirizzata a
Nicolo,DosiDelfini@ pkb.ch.

‘Il 5 marzo 2014, PKB riceveva un nuovo ordine di bonifico tramite e-mail

{{katerina.jankovska@yahoo.cam) chiedente il versamento di GBP 350'000.- a favore della
societa "Chalt Import & Export Co. Ltd" di Hong Kong.

In data 11 marzo 2014, PKB riceveva una quarta e-mail in cui le veniva richiesto di indicare
it saldo: "on all my account", Questa volta la richiesta proveniva dall'indirizzo kateri-
na jankovskas@yahoo.com un indirizzo simile a quelli usati precedentemente ma non
identico (per la presenza detla "s" finale dopo i] cognome).

La Signora Katerina Jankovska ha testimoniato che, in data 6 marzo 2014, essa ha cambia-
to la password di accesso al conto “katerina jankovskas@yahoo.com", poiché, quello stes-
so giorna, fe e-mail nell'account si cancellavano In manlera automatica contestualmente
all'invia e poiché la Signora Katerina Jankovska era stata resa attenta da diverse persone
che verosimilmente era stata vittima di un attacco di hacker. Infatti, in data 15 dicembre
2016, la Signora Katerina Jankovska riceveva da Yahoo una "Notice of Data Breach", se-
condo il quale “una terza parte non qutorizzata, nell'agoste 2013, aveva rubato dei dati

 

 
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Benepick STUDIG LEGALE £ NOTARILE

legati a diversi account e-mail", tra i quali risultava essere quello della Signora Katerina

Jankovska.
In seguito alla modifica della password di accesso all'account — kateri-

na.jankovskas@yahoo.com, lo hacker non aveva pili accesso a tale account.

il 12 marzo 2014, la persona sconosciuta che operava dietro ['indirizzo kateri-
na.jankovskas@yahoo.com chiedeva un ulteriare trasferimento di GBP 85'000.- di nuovo
in favore della societa "Chalt Import & Export Co, Ltd" di Hong Kong.

intine, in data 5 maggio 2014, PKB riceveva un'ultima richtesta di bonifico di GBP 11'450,
Anche questa volta la richiesta  giungeva  dall'indirizzo e-mail __kateri-
na.jankovskas@yahoo.com mentre If destinatario del bonifico era una persona fisica, tale

Rowena Rawlings a Huston, Texas.

La Signora Katerina Jankovska ha testimoniato di non avere impartite le istruzioni di pa-

gamento summenzionate.

i 7 dicembre 2016, Marta Jankovska ha Inoltrate una causa giudiziarla nei confronti di PKB
e ha chiesto if rimborso degli importi trasferiti senza il suo consenso, pit interessi di mora

@ spese.

 
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Print , , 04.16.16, 15:50

Subject: Reset your Yahoo password
* From: Yahoo Mernber Services (yahoo-account-services-us @cc. yahoo-inc.com)
To: leon_c2002us@ yahoo.com;

Date: Thursday, March 6, 2014 12:34 PM

You recently requested a password reset for your Yahoo account. To create a new password, click on the link
below:

Reset My Password
This request was made on Mareh 06, 2014 at 03:31am PST,

Regards,
Yahoo Member Services

sfe sft fe eke he oe sf ake cf tf oe sft oft afc abs ods abe ft ele fe as obs of che abe cfs ope ale ats abe aft afs ake alt ae ofe ce sfe sf ads fe abe abe age oft otc af fe ode abe oft cbs aps che afr}

Please do not reply to this message. Mail sent to this address cannot be answered,

about:blank Page 1 of 7

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SUMMARY OF THE FACTUAL BACKGROUND OF THE CASE

1. Mr and Mrs Jankovski, both directly and though companies which they owned, have
been clients of PKB Privatbank SA since the early 2000s.
The communication between the Bank and Mr and Mrs Jankovski usually took
place through staff members of Mr Kosta Jankovski’s companies.
The bank employee in charge of the account had personally met the staff during a
visit to the companies in Skopje.

2, in 2013 Mr Kosta Jankovski requested the Bank to open an account in the name of
his daughter Marta Jankovska, where the amount of GBP 1 million, being a gift from
father to daughter, had to be deposited in view of real estate investments
(according to information provided by Mr Kosta Jankovski to PKB).

3. The account opening documentation was signed on 25 February 2013.
Marta Jankovska also signed the indemnity form for email orders.
On 26 February 2013 Marta Jankovska granted a proxy in favour of her mother
Katerina Jankovska.

4. On 15 and 22 March 2013 the global amount of GBP 1 million was credited to the
account.

5. On 19 February 2014 the Bank received - from the email address .
katerina.jankovska@yahoo.com, which had been known to the Bank for years — an
instruction to transfer the amount of GBP 150,000.- from the account of Marta
Jankovska in favour of the company Mcpine Construction Ltd, London.

In order to execute the payment the Bank requested an instruction signed by
Katerina Jankovska, in her capacity as proxy-holder.

On the same day the Bank received — as attachment from the email address
katerina. jankovska@yahoo.com — a signed payment instruction for the transfer of
the amount mentioned here above. The bank employee requested and obtained a
confirmation over the phone and the payment was executed on 21 February 2014
and a confirmation was sent to the email address katerina. jankovyska@yahoo.com.

6. On 25 February 2014 the Bank received — from the email address
katerina.jankovska@yahoo.com — an instruction to transfer the amount of GBP
400,000.- in favour of Chalt Import & Export Co. Ltd. As in the previous case, the
Bank requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 3 March 2014, sending a
confirmation to the email address katerina.jankovska@yahoo.com.

7. On 5 March 2014 the Bank received ~— from the email address
katerina.jankovska@yahoo.com — an instruction to transfer the amount of GBP
350,000.- in favour of Chalt Import & Export Co. Ltd; as in the previous cases, the
Bank requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 7 March 2014, sending a
confirmation to the email addresses  katerinajankovska@yahoo.com and

iankovskamarta@aqmail.com.
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MAG Legis SA FOGLIO

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8.

10.

11.

On 12 March 2014 the Bank received — from the e-mail address
katerina.jankovskas@yahoo.com — an instruction to transfer the amount of GBP
85,000.- in favour of Chait Import & Export Co. Lid; as in the previous cases, the
Bank requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 14 March 2014, sending
a confirmation to the email addresses katerina.jankovskas@yahoo.com and
jankovskamarta@qmail.com.

On 5 May 2014 the Bank received — from the e-mail address

katerina.jankovskas@yahoo.com — an instruction to transfer the amount of GBP
41,450.- in favour of Rowena Rawlings; as in the previous cases, the Bank
requested and obtained a signed payment instruction and a subsequent
confirmation over the phone and executed the payment on 8 May 2014, sending a
confirmation to the email address katerina.jankovskas@yahoo.com.

On 14 October 2014 the bank employee in charge of the account received a phone
call from a staff member of one of the companies of the Jankovski family regarding
a forex transaction to be carried out on the account in question. The bank employee
enquired about the reasons for such request in consideration of the smail amount
left on the account.

Subsequently Marta Jankovska disputed that the payment instructions received
from the email addresses katerina Jankovska@yahoo.com and
katerina.jankovskas@yahoo.com had been given by her mother Katerina
Jankovska, alleging that her email account had been hacked and the payment
instructions had therefore been sent by unknown and unauthorized persons.

Certification of authenticity: |, the undersigned, certify that the above text has been
drawn up by me and is the English translation of the original one in Italian and that it
corresponds to the original version both in the form and content.

Aw. Maurizio Agustoni
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RIASSUNTO DEI FATTI DI CAUSA

41. | coniugi Jankovski, sia direttamente, sia per il tramite di societa ad essa
riconducibili, sono stati clienti di PKB Privatbabank SA dalfinizio degli anni 2000.
Le comunicazioni tra la banca e i coniugi Jankovski avvenivano per il tramite di
dipendenti delle societa riconducibili al signor Kosta Jankovski.
ll collaboratore della banca incaricato della relazione ha visitato gli uffici delle
societa a Skopjie e ha conosciuto personalmente le dipendenti della societa.

2. Nel 2013 il signor Kosta Jankovski ha chiesto alla banca di aprire un conto alia figlia
Marta dJankovksa, visto che era Intenzionato a corrisponderle una donazione di
GBP 1 Mio in vista di investimenti immobiliarl (secondo quanto da lui comunicato
alla PKB).

3. La documentazione di apertura del conto é stata sottoscritta il 25 febbraio 2013.
Marta Jankovska ha pure sottoscritto il formulario per gli ordini via e-mail.
Marta Jankovska, if 26 febbraio 2043, ha inoltre conferito procura alla madre
Katerina Jankovska

4, in date 15 e 22 marzo 2013 sul conto sono stati accreditati GBP 1 Mio.

5. in data 19 febbraio 2014 [a banca ha_ ricevuto  dalindirizzo
katerina.jankovska@yahoo.com, noto da anni alla banca, fa richiesta di trasferire
dal conto di Marta Jankovska GBP 150'000.-- a favore della Mcpine Construction
Ltd di Londra.

Il collaboratore della banca ha chiesto di ricevere un ordine sottoscritto da parte di
Katerina Jankvoska, procuratrice del conto.

{| 19 febbraio 2014 la banca ha ricevutc dallindirizzo
katerina.jankovska@yahoo.com, tramite allegato e-mail, un ordine scritto relativo at
bonifice di cui al paragrafo precedente. I! collaboratore della banca ha chiesto e
ricevuto conferma telefonica. L’ordine é stato eseguito il 21 febbraio 2014 e la
conferma é stata inviata all’indirizzo katerina.jankovska@yahoo.com.

6. ll 25 febbraio 2014 la banca ha ricevuto dallindirizzo
katerina.jankovska@yahoo.com la richiesta di trasferire GBP 400'000.-- a favore di
Chalt Import & Export Co. Ltd; come per il bonifico precedente la banca ha ottenuto
un ordine scritto inviato tramite e-mail e una conferma telefonica; il bonifico é stato
eseguito il 3 marzo 2014 e la conferma 64 stata inviata allindirizzo
katerina, jJankovska@yahoo.com.

7. 11 5 marzo 2014 ta banca ha ricevuto dallindirizzo katerina.jankovska@yahoo.com
la richiesta di trasferire GBP 350'000.—a favore di Chalt Import & Export Co. Ltd;
come per i bonifici precedenti !a banca ha ottenuto un ordine scritto inviato tramite
e-mail e una conferma telefonica; il bonifico 6 stato eseguito il 7 marzo 2014 e la
conferma @ stata inviata agli indirizzi katerina.jankovska@yahoo.com e
jankovskamarta@qmail.com.,

8. ll 12 marzo 2014 la banca ha ricevuto dallindirizzo
katerina.jankovskas@yahoo.com la richiesta di trasferire GBP 85'000.-- a favore di
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MAG Legis SA . FOGLIO 2
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Chalt Import & Export Co. Ltd; come per [ bonifici precedenti la banca ha ottenuto
un ordine scritto inviato tramite e-mail e una conferma telefonica; il bonifico & stato
eseguito il 14 marzo 2014. e la conferma é stata inviata agli indirizzi

katerina jankovskas@yahoo.com e jankovskamarta@gmail.com.

9. II 5 maggio 2014 la banca ha ricevuto dail indirizzo
katerina.jankovskas@yahoo.com la richiesta di trasferire GBP 11'450.-- a favore di
Rowena Rawlings; come per f bonifici precedenti la banca ha ottenuto un ordine
scritto inviato tramite e-mail e una conferma telefonica; if bonifico @ stato eseguito
'8 maggio 2014. L'ordine é stato confermato allindirizzo
katerina.jankovskas@yahoo,com.

 

10. {1 44 ottobre 2014 il collaboratore della banca é stato contattato telefonicamente da
una dipendente di una societa della famiglia Jankovski in merito a un’operazione di
cambio da svolgere sul conto in questione. {I collaboratore della banca ha indicato
alla sua interlocutrice di non comprendere il motivo della richiesta, vista l'esiguita
del saldo disponibile.

41. In seguito Marta Jankovska ha contestato che la madre Katerina Jankovksa fosse
all’origine delle istruzioni trasmesse mediante gli indirizzi
katerina jankovska@yahoo.com e katerinajankovskas@yahoo.com, sostenendo
che il suo indirizzo e-mail era stato oggetto di pirateria Informatica, e dunque che si
trattava di ordini falsi impartiti da persone sconosciute non autorizzaie.

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‘DOMANDA DI.ASSISTENZA GIUDIZIARIA

{Le indicazioni qui appresso devono figurare in tutte le domande di assistenza
giudiziaria)
4 Mittente (identita e indirizzo)

Pretura di Lugano, Sezione 1, Via Bossi 3, 6900 Lugano (Svizzera)

2 Autorita centrale dello Stato richiesto (identita e indirizzo)
U.S. Department of Justice
Civil Division
_ Office of international Judicial Assistance
Benjamin Franklin Station
P.O. Box 14360
Washington, D.C. 20004
United States of America

Persona alla quale occorre ritornare gli atti relativi all'esecuzione (identita e indirizzo)

Pretura di Lugano, Sezione 1, Via Bossi 3, 6900 Lugano (Svizzera)

{Le indicazioni qui appresso devono figurare in tutte le domande di assistenza
giudiziaria)

4. Aji sensi dell'articolo 3 della Convenzione, il richiedente si pregia di presentare la
seguente domanda:

5 a. Autorité giudiziaria richiedente (art. 3 lett. a) (identifa e indirizzo)
Pretura di Lugano, Sezione 1, Via Bossi 3, 6900 Lugano (Svizzera)

b Al'gutorita competente di (art. 3 lett. a) (nelfo Stato richiesto)
U.S. Department of Justice
. Civil Division
Office of International Judicial Assistance
Benjamin Franklin Station
P.O. Box 14360
Washington, D.C. 20004
United States of America

6  identita e indirizzi delle parti e dei loro rappresentanti (art. 3 lett, b)

a Parte attrice Marta Jankovska, 35 Mandti street, 3rd floor, flat 2, 08022

Barceliona (Spagria)
patr. da: Avv. Hans-Uirich Kupsch, Talstrasse 11, 8007 Zurich

patr. da: Avv.dr. Gilles Benedick, Via Ariosto 6, 6907 Lugano

 

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b Parte convenuta PKB Privatbank SA, Via S. Balestra 1, 6900 Lugano

(Svizzera) :
patr. da Avy. Andrea Molino, Via GB. Pioda 14, 6901 Lugano

7 Natura e oggetto dell'istanza nonché un breve resoconto dei fatti (art. 3 lett. c)
confronta riassunto scrifte allegata

8 Atti distruttoria o gil altri atti giudiziari da compiere (art. 3 lett. d)
richiesta di informazioni nei confronti di Oath Holdings Inc., U.S. Custodian of
Records, 707 First Avenue, Sunnyvale, CA 94089 ;

if {Le indicazioni qui appresso devono figurare ove occorra)

9 Nome e indirizzo delle persone da interrogare (art. 3 lett. e)

40 Domande da rivolgere alle persone da interrogare o fatti sui quali devono essere
interrogate (art. 3 lett. f}

44. Documenti o gli altri oggetti da ispezionare (art. 3 lett. g) (indicare se desiderati in
originale, in copia o sotto forma di resoconto)

cara eer e eed ene dae aa RASS ERO ART PRE ee PERS RE RAE PERO ea RE SSR SARE AERIS TPT PT EROS ER ESTEE TEES

12  Precisazione se la deposizione debba essere fatta sotto giuramento o con una semplice
affermazione e, ove occorra, l'indicazione della formula da usare (art, 3 lett. h) (se non
é possibile procedere nella forma richiesta, specificare se l'autorita richiesta pud
interrogare nella forma usuale in loco) ‘

13. Qgni forma speciale ta cul applicazione sia richiesta in conformita dellarticolo 9 (art. 3
lett. i)

14 Se richiesto, comunicazione della data e del luogo in cut avra luogo il procedimento,
identita e indirizzi delle persone da informare (art.7)

15  Richiesta di far assistere l'autorita richiedente all'esecuzione della rogatoria (art. 8)

CPR ee ee RARER ee ROPER Rae BORO RAO R ESET PEDALS TE TTP DASE SETAE HSE L CATR IDET EAT THATS EES SS

16 Indicazione del diritto di rifiutare la deposizione o dell'obbligo di rifiutarsi di deporre
previsto lia legge delio Stato richiedente (art. 11 leit. b)

 
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 35 of 67

17 Le indennita e le spese per le quali conformemente all'articolo 14 capoverso 2 €
all'articolo 26 & possibile esigere il rimborso verranno pagate da (identita e indirizzo)

Pretura di Lugano, Sezione 1, Via Bossi 3, 6900 Lugano (Svizzera)

IV (Le indicazioni qui appresso devono figurare in tutte le domande di assistenza
giudiziaria)
18 Data della domanda

. Lugano, 28 marzo 2079

19 Firma e timbro detlautorita richiedente

Pretura del
di Lugano -

   

 
telefono
fax

Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 36 of 67

tile

Repubblica e Cantone

 

 

 

 

Goo! tasjano del Ticino
091 815 6391
091 816 8039
Pretura di Lugano - Sezione 1
. 6901 Lugano
Fissazione termine ~ Qath Holdings Inc,

U.S. Custodian of Records
701 First Avenue
Sunnyvale, CA 94089

Incarto n. Lugano
OR.2015.233 28 marzo 2019
1086/2016

Il Pretore del Distretto di Lugano
PD Dr. iur. Avv, Francesco Trezzini, LL.M.

nella causa procedura ordinarla promossa in data 7 dicembre 2016 da

Vista

ritenuto

per j quali motivi

fissa

Marta Jankovska, Barcellona
patr. da: Avv. Hans-Ulrich Kupsch, Zorich
patr. da: Avv.dr, Gilles Benedick, Lugano

contro

PKB Privatbank SA, Lugano /

patr. da: Avv. Andrea Molino, Lugano

l'e-mail 13 febbraio 2019 della Oath (EMEA) Limited, Dublino,

che eccorre fissare al terzo richiesto, Oath Holding Inc., un termine per
fornire le informazioni di cui al dispositivo della presente decisione,

al terzo richiesto Oath Holding Inc. un termine di 30 giorni per fornire le
seguenti informazioni:

Information about the following e-mail accounts:

katerina.jankovska@yahoo.com
katerina.jan kovskas@vyahoo.com

1. When the account has been created (date and time).
What browser and IP address has benn used to create the account.

 

 

CiTOSS-F.COT/O0733955,d50

 

 
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Pratuva di Lugano , Incarto n. Lugano

OR.2016.233 28 marzo 2019

 

2. What user data was entered when setting up an account (user
name, address, phone, ...}

3. Full log of account activities (date and time, activiy type, client
browser and IP adress) in particular, log of al! deletion of e-mails.

4. Full log of account password changes (date and time, client browser
and IP adress).

In addition, please let us know if it is possible thaht the above
mentioned accounts were affected by a data breach.

 

 

 
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Kubler Lara BJ

Von: _EDA-Vertretung Dublin <dublin@eda-admin.ch>
Gesendet: Mittwoch, 13. Februar 2019 12:06

An: Sweeney Deirdre EDA SWD

Betreff: FW: Oath EMEA LERT 404099

Printed

444.1

From: rizzo@verizonmedia.com <rizzo@verizonmedia.com> On Behalf Of jE-LegalPOC SMB
Sent: Wednesday, February 13, 2019 11;03 AM

To: _EDA-Vertretung Dublin <dublin@eda.admin.ch>

Subject: Oath EMEA LERT 404099

Dear Ms. Sweeney,
We refer to your request ref. 444. 1-swd (ORR.2016.233), dated January 31, 2079.

Please note that the Yahoo ID katerina.jankovska is not administered by Oath (EMEA) Limited ("Oath
EMEA”). Rather, it is administered by Oath Holdings Inc. For further information, please contact Oath

Holdings Inc. at leqalpoc@verizonmedia.com

Furthermore, please note that user account katerina.jankovskas specified in your request is not a valid
Yahoo ID at this time.

Please do not hesitate to contact us should you need any additional information.

Yours faithfully,

Oath (EMEA) LERT

ie-legalpoc@verizonmedia.com
5-7 Point Square, North Wall Quay, Dublin 4

Oath:

CONFIDENTIALITY NOTICE: This e-mail and its attachments are confidential and may be legally
privileged,
itis intended for the named recipient only.
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 39 of 67

Kiibter Lara BJ

 

Von: Sweeney Deirdre EDA SWD <deirdresweeney@eda.admin.ch>

Gesendet: Mittwoch, 13. Februar 2019 12:19

An: . Kibler Lara BJ

Betreff: Zustellungsersuchen geméass Art. 8 HZUe65 an OATH (EMEA) LIMITED - ref.
C-19-41-1-KUL

Anlagen: FW: Oath EMEA LERT 404099

Dear Mrs. Kiibler,

As requested | forward the judicial documents by registered post to OATH (EMEA) LIMITED, Dublin, on
31.07.2079. This morning | received the attached email from the company.

. Wishing you a good afternoon. ,

Best regards from Dublin

Deirdre Sweeney
Executive Assistant to the Ambassador

wae PN yids tH cuaurer oF
HUMAN RIGHTS
Tee CUT Eeea tea ee

Embassy of Switzerland in treland

 

6, Ailesbury Road, Ballsbridge, Dublin 4
Tei: +353 1218 0100

Fax: +353 1 283 0344

deirdre. sweeney@eda admin.ch

dub. vertretunq@eda.admin.ch
www_.eda.admin.chidublin

 

   
 

 

follow us on twitter

This e-mail may contaiit trade secrets or privileged, undisclosed or otherwise confidential information. if you have received this e-mail in error, you ave hereby
notified that any review, copying or distribution of it is strictly prohibited. Please inforin us immediately and destroy the original transmittal. Thank you for your
cooperation, .
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EXHIBIT 3
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Pyle, Michael T. (USACAN)

From: legal15@verizonmedia.com on behalf of Legal POC SMB
<legalpoc@verizonmedia.com>

Sent: Tuesday, August 13, 2079 2:55 PM

To: Pyle, Michael T, (USACAN)

Subject: Re: Request for International Judicial Assistance -- Response Requested by July 16, 2019

Please submit your request via our Law Enforcement Online Submissions (LEOS) system, available at
hitps://lawenforcementrequests.oath.com. If you experience any difficulties registering for, or submitting a
request through LEOS, please contact us at LEOS-support(@verizonmedia.com.

All law enforcement requests seeking user data, including preservation demands and emergency disclosure
requests, should be submitted through LEOS. If you have submitted your legal process previously, do not
resend it via LEOS.

NDO extensions for previously submitted legal process should be sent to lawenforcement-
inquiries@verizonmedia.com (do not submit via LEOS).

Status requests and general questions should be sent to: lawenforcement-inguiries@vyerizonmedia.com.

If you are submitting a request for content removal or reporting other abusive conduct, please send that request
to legal-customer-esc@verizonmedia.com.

Regards,

Oath Holdings Inc. Legal Team

On Thu, Jun 27, 2019 at 10:32 AM Pyle, Michael T. (USACAN) <Michael.T.Pyle@usdoj.gov> wrote:

- Dear Oath Holdings, Inc. Custodian of Records,

Please see the attached letter and enclosure regarding an International Judicial Assistance Request regarding a
request from a Swiss court.

: Thank you,

| Michael Pyle
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 43 of 67

~ AUSA, Northern District of California

Direct Line: 408-535-5087
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 44 of 67
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 45 of 67

EXHIBIT 4
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 46 of 67

Pyle, Michael T. (USACAN)

From: Pyle, Michael T. (USACAN}

Sent: Thursday, August 15, 2019 9:51 AM

To: legalpoc@verizonmedia.com; lawenforcement-inquiries@verizonmedia.com

Subject: Request for CIVIL International Judicial Assistance -- Response to Questions Requested
by August 29, 2019

Attachments: August 15, 2019 Letter to Oath Holdings.pdf; E-mail from Law Enforcement Enclosure to

August 15 2019 letter.pdf

Please see the attached letter and enclosure regarding a civil, not criminal, matter regarding a request for answers to
questions from a Swiss court. | sent my original letter about this matter to legalpoc@verizonmedia.com in July.

Thank you,

Michael Pyle
Civil AUSA, NDCA
Direct Line: 408-535-5087
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 47 of 67

United States Attorney
Northern District of California

 

 

150 Almaden Boulevard, Suite 900 (408) 535-5087
San Jose, California 95113 PAX: (408) 535-5081

August 15, 2019

Oath Holdings, Inc.
Custodian of Records
701 1% Avenue
Sunnyvale, CA 94089

VIA U.S. MAIL and E-MAIL: legalpoc@verizonmedia.com; lawenforcement-
inquiries(@verizonmedia.com

Re: Request for International Judicial Assistance from the District Court of
Lugano, Switzerland in Marta Jankoyska v. PKB Privatbank SA,
Ref No. OR.2016.233
DJ Reference Number: 189-30-19-5

Dear Oath Holdings:

l submitted a letter to Oath Holdings, Inc. via e-mail to lepalpoc(@verizonmedia.com on
June 26, 2019, asking for a response to some questions by July 16, 2019. | received no response
by that date.

Instead, as 1 was about ready to file papers with the district court in order to obtain
authorization to serve a subpoena on Oath Holdings, I received the enclosed form e-mail about a
Law Enforcement Online Submissions on August 13, 2019.

I believe you misunderstood my June 26, 2019 letter. | am a Civil, not Criminal,
Assistant United States Attorney. Furthermore, the Swiss litigation is a civil dispute and not a
criminal matter, and we are proceeding in this matter pursuant to 28 U.S.C. § 1782. This is not a
“law enforcement” request as that phrase is normally used.

Please let me know if Oath Holdings would (a) voluntarily comply with the request, or
(b) would instead prefer that { obtain court-authorized subpoena. If you prefer that ] obtain a
court-authorized subpoena, please let me know if you would like to negotiate about a form of
court order or subpoena. Finally, please let me know if you would accept service of a subpoena
by sending it to an e-mail address.
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 48 of 67

Oath Holdings, Inc.
Austss 13, 2019

Please contact me by August 29, 2019 to let me know if Oath Holdings will comply
voluntarily with the Request or wishes to discuss the form of a court order or subpoena, as well
as whether the subpoena could be served by e-mail.

You can reach me at 1-408-535-5087 or via e-mail at michael.t.pyle@usdoj.gov. If I do
have answers to these questions by August 29, 2019, I will presume that Oath Holdings has
chosen to be served with a subpoena at its address in Sunnyvale

Very truly yours,

DAVID L, ANDERSON
United States Attorney

Wi hel TAGE

MICHAEL T. PYLE
Assistant United States Atorney

Enclosures
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 49 of 67

Pyle, Michael T. (USACAN)

From: legal1 5@verizonmedia.com on behalf of Legal POC SMB
<legalpoc@verizonmedia.com>

Sent: Tuesday, August 13, 2019 2:55 PM

To: Pyle, Michael T. (USACAN)

Subject: Re: Request for International Judicial Assistance -- Response Requested by July 16, 2019

Please submit your request via our Law Enforcement Online Submissions (LEOS) system, available at
https://lawenforcementrequests.oath.com, If you experience any difficulties registering for, or submitting a
request through LEOS, please contact us at LEOS-support@verizonmedia.com.

All law enforcement requests seeking user data, including preservation demands and emergency disclosure
requests, should be submitted through LEOS. If you have submitted your legal process previously, do not
resend it via LEOS.

NDO extensions for previously submitted legal process should be sent to lawenforcement-
inquiries@verizonmedis.com (do not submit via LEOQS),

Status requests and general questions should be sent to: lawenforcement-inquiries(@verizonmedia.com.

If you are submitting a request for content removal or reporting other abusive conduct, please send that request
to legal-customer-esc(@verizonmedia.com.

Repards,

Oath Holdings Inc, Legal Team

On Thu, Jun 27, 2019 at 10:32 AM Pyle, Michael T. (USACAN) <Michael.T.Pyle@usdoj.gov> wrote:

Dear Oath Holdings, Inc. Custodian of Records,

- Please see the attached letter and enclosure regarding an International Judicial Assistance Request regarding a
_ request frorn a Swiss court.

| Thank you,

Michael Pyle
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 50 of 67

AUSA, Northern District of California

Direct Line: 408-535-5087
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EXHIBIT 5
 

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Pyle, Michael T. (USACAN)

From: legals @verizonmedia.com on behalf of Law Enforcement Inquiries SMB
<lawenforcement-inquiries@verizonmedia.com>

Sent: Thursday, August 15, 2019 6:02 PM

To: Pyle, Michael T. (USACAN}

Subject: Re: Request for CIVIL International Judicial Assistance -- Response to Questions

Requested by August 29, 2019

Greetings,
You will need a subpoena.

Oath Holdings Inc. (“Oath”) (formerly Yahoo Holdings, Inc.) accepts service of valid U.S. legal process via one
of the means below.

FedEx or Certified Mail
Oath Holdings Inc.
Custodian of Records
701 First Avenue
Sunnyvale, CA 94089

Registered Agent
CT Corporation

Regards,

Oath Holdings Inc. (formerly Yahoo Holdings, Inc.)

U.S. Law Enforcement Response Team

701 First Avenue

Sunnyvale CA 94089

On Thu, Aug 15, 2019 at 9:51 AM Pyle, Michael T. (USACAN) <Michael.T.Pyle@usdoj.gov> wrote:
Please see the attached letter and enclosure regarding a civil, not criminal, matter regarding a request for

answers to questions from a Swiss court. J sent my original letter about this matter to
legalpoc@verizonmedia.com in July.

Thank you,

Michael Pyle

| Civil AUSA, NDCA
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Direct Line: 408-535-5087
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EXHIBIT 6
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AQ &8B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT
for the

Northern District of California

Marta Jankovska v. PKB Privatbank S.A.

Plaintiff

V.
REQUEST FROM SWISS COURT FOR
INFORMATION FROM OATH HOLDINGS, INC.

Defendant

 

Civil Action No.

 

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To! Oath Holdings, Inc.

 

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attached.

 

Place: Michael T. Pyle, 150 Almaden Blvd., Suite 900, San Date and Time:
Jose, CA 95113

 

 

 

0) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on. it.

 

Place: Date and ‘Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (2), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 

 

 

Date:
CLERK OF COURT
OR
Signature of Clerk or Deputy Clerk Attorney's signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) United States

, who issues or requests this subpoena, are:

 

Michael T. Pyle, U.S. Attorney's Office, 150 Almaden Blvd., Suite 900, San Jose, CA 95113; michael.t.pyle@usdoj.gov

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed, Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rey, 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2}

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

] received this subpoena for (name of individual and lille, ifany)

 

on fdate)

C1 I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

C1 1 returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 59 of 67

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AO 88B (Rey. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c}) Place of Compliance.

(1) For a Trial, Hearing, or Depesition, A subpoena may command a
person (o attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person, or
(B) within the state where the person resides, is employed, or regularly
iransacts business in person, if the person
(i) is a party or a party’s officer, or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d} Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty aud impose an appropriate sanction—-which may include
jost eamings and reasonable attorney’s fees—on a party or attorney who
fails to comply. ,

(2) Conunand to Produce Materials or Permit Inspection.

{A} Appearance Not Required, A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information im the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
(A) hen Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(e);

(iif) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) hen Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if tt requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; aad

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified,
Tf a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms,

(C) Electronicaily Stored Information Praduced in Only One Forni. The
person responding need not produce the same electronically stored
information in move than one form.

(D) inaccessible Electronically Stored Information, Vhe person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(bK2KC). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
fitified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
untif the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified, and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where comptiance is required—and also, after a
motion is transferred, the issuing court—may bold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R, Civ. P. 45{a} Committee Note (2013).

 
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Case 5:19-mc-80208-VKD Document 3-1 Filed 08/22/19 Page 61 of 67

EXHIBIT 6A

Questions to Answer / Documents to Produce

The United States does not seek the content of
any e-mail communications
ah

tetefono

fax

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ti

Repubblica e Cantone

 

 

 

 

Sa0t Lugano _ dei Ticino

081 616 63 31

91 815 60 39
Pretura di Lugano - Sezione 1
6901 Lugano

Fixing of time limit Oath Holdings Inc.

U.S. Custodian of Records
701 First Avenue
Sunnyvale, CA 94089.

Fite n. Lugano
OR.2016.233 March 28", 2019
{09/2016 "

The Judge of the District of Lugano

PD Dr. iur. Avy. Francesco Trezzini, LL.M.

In ordinary cause procedure submitted on December 7", 2016 by

Seen

considered

for which reasons

establishes

Marta Jankovska, Barceliona -
Represented by Attorney Hans-Ulrich Kupsoh, Zurich
Represented by Attorney Gilles Benedick, Lugano

against

PK8 Privatbank SA, Lugano

Represented by Attorney Andrea Molino, Lugano

the e-mail dated February 13", 2019 from Oath (EMEA) Limited, Dublin,

that it is necessary to set for the third party Oath Helding Inc. a time
limit to provide the information reffered to the operative part of this

decision,

the third party Oath Holding Inc. the 30 days to provide the following
information:

Information about the following e-mail accounts:

katerina. jankovska@yahoo.com
katerina.jankovskas@yahoo.com

1, When the account has been created (date and time).
What browser and IP address has benn used to create the account.

 

GITOSS FDOT 33077, dae

 
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Pretura di Lugano File a. Lugano

OR.2016.233 March 28", 20149

 

2. What user data was entered when setting up an account (user
name, address, phone, ...)

3. Full log of account activities (date and time, activiy type, client
browser and IP adress) in particular, log of all deletion of e-mails. —

4, Fulllog of account password changes (date and time, client browser
and IP adress).

In addition, please let us know if it is possible thaht the above
mentioned accounts were affected by a data breach.

 

 

 
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EXHIBIT 6B

E-mails from Letter of Request

These e-mails are for Oath Holdings convenience
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Kubler Lara BJ

Von: _EDA-Vertretung Dublin <dublin@eda.admin.ch>
Gesendet: Mittwoch, 13, Februar 2079 12:06

An: Sweeney Deirdre EDA SWD

Betreff: FW: Oath EMEA LERT 404099

Printed

444.1

From: rizzo@verizonmedia.com <rizzo@verizonmedia.com> On Behalf Of !E-LegalPOC SMB
Sent: Wednesday, February 13, 2019 11:03 AM

To:_EDA-Vertratung Dublin <dubiin@eda.admin.ch>

Subject: Oath EMEA LERT 404099

Dear Ms. Sweeney,
We refer to your request ref. 444. ¢-swd (ORR.2016.233), dated January 31, 2019.

Piease note that the Yahoo ID katerina.jankovska is not administered by Oath (EMEA) Limited (“Oath
EMEA’). Rather, it is administered by Oath Holdings Inc. For further information, please contact Oath
Holdings Inc. at legalpoe@verizonmedia.com

Furthermore, please note that user account katerina. jankovskas specified in your request is not a valid
Yahoo ID at this time. .

Please do not hesitate to contact us should you need any additional information.

Yours faithfully,

Oath (EMEA) LERT

ie-leqalpoc@verizonmedia.com

5-7 Point Square, North Wall Quay, Dublin 4
Oath:
CONFIDENTIALITY NOTICE: This e-mail and its attachments are confidential and may be legally

privileged.
It is intended for the named recipient only.
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Print 04,10.18, #5:60

Subject: Reset your Yahoo password
From: Yahoo Member Services (yahoo-account-services-us@cc. yahoo-inc.com}
- ‘To: leon_c2002us@yahoo.com;

Date: Thursday, March 6, 2014 12:31 PM.

You recently requested a password reset for your Yahoo account. To create a new password, click on the link
below:

Reset My Password
This request was made on March 06,2014 at 03:3 lam PST.

Regards,
Yahoo Member Services

SMe de the sti aft ote af bc sfc afc oft aft afl ode abe ape af ahs fe ake ae Ske fe ade ode sf fe aft aft ole af ate abe ale of aft ef af ade ats fe ae ae afc obs oe ats fe af de af ae ape ad te ht

Please do not reply to this message. Mail sent to this address cannot be answered,

about:blank Page 10!1

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